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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

BUZZ PHOTO, ET AL.,                            §
                                               §
             Plaintiffs,                       §
                                               §
V.                                             §     No. 3:20-cv-656-K-BN
                                               §
THE PEOPLE’S REPUBLIC OF                       §
CHINA, ET AL.,                                 §
                                               §
             Defendants.                       §

           ORDER DENYING LEAVE TO FILE AN AMICUS BRIEF

      In this case that United States District Judge Ed Kinkeade has referred to the

undersigned United States magistrate judge for pretrial management under 28

U.S.C. § 636(b), David Andrew Christenson has made some 19 filings related to his

desire to proceed as an amicus.

      But, as the Court’s local rules provide, “[a]n amicus brief may not be filed

without leave of the presiding judge,” and “[t]he brief must specifically set forth the

interest of the amicus curiae in the outcome of the litigation.” N.D. TEX. L. CIV. R.

7.2(b); see also In re Allied Pilot Class Action Litig., No. 3:99-cv-480-P, 2000 WL

1405235, at *1 n.1 (N.D. Tex. Sept. 26, 2000) (observing that, under this local rule,

an amicus must “demonstrate[] sufficient interest in the outcome of the litigation to

warrant leave to file [an] amicus brief[]”).

      The Court has reviewed Mr. Christenson’s filings, and, treating them as

motions for leave, the Court finds that Mr. Christenson has not demonstrated an

interest in this case that warrants granting him leave to file an amicus brief. His
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construed motions for leave are therefore DENIED.

      Further, as the United States Court of Appeals for the Fifth Circuit has

observed,

      [a]n amicus brief should normally be allowed when a party is not
      represented competently or is not represented at all, when the amicus
      has an interest in some other case that may be affected by the decision
      in the present case (though not enough affected to entitle the amicus to
      intervene and become a party in the present case), or when the amicus
      has unique information or perspective that can help the court beyond
      the help that the lawyers for the parties are able to provide.

In re Halo Wireless, 684 F.3d 581, 596 (5th Cir. 2012) (quoting Ryan v. CFTC, 125

F.3d 1062, 1063 (7th Cir. 1997)).

      Measuring the filings already made by Mr. Christenson in this case against

these considerations, his filings, to put it plainly, do not help the Court. They instead

unduly burden the Court’s resources. The Court therefore DIRECTS the Clerk of

Court to not accept further fillings from Mr. Christenson in this case unless otherwise

directed by the Court. Cf. id. (“‘Whether to permit a nonparty to submit a brief, as

amicus curiae, is, with immaterial exceptions, a matter of judicial grace.’” (quoting

Nat’l Org. for Women, Inc. v. Scheidler, 223 F.3d 615, 616 (7th Cir. 2000))).

      SO ORDERED.

      DATED: August 27, 2020

                                         _________________________________________
                                         DAVID L. HORAN
                                         UNITED STATES MAGISTRATE JUDGE




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